           Case 1:12-cr-00029-JL   Document 17   Filed 08/21/12   Page 1 of 1


                  UNITED STATES DISTRICT COURT FOR THE
                        DISTRICT OF NEW HAMPSHIRE


United States of America

            v.                            Criminal No. 12-cr-29-01-JL

Angel L. Marquez

                                   O R D E R

      The assented to motion to reschedule jury trial (document no. 16) filed

by defendant Marquez is granted. As co-defendant Miguel Correia has agreed

to the trial continuance, the following deadlines will apply as to both

defendants:      Final Pretrial is rescheduled to October 24, 2012 at 10:00

a.m.; Trial is continued to the two-week period beginning November 6, 2012,

9:30 a.m. In addition to various filing deadlines contained in the local

rules, the parties shall also file any in limine motions no later than ten

(10) days prior to the final pretrial conference.            Objections to motions

in limine shall be filed no later than three (3) days prior to the final

pretrial conference.

      Defendant Marquez shall file a waiver of speedy trial rights within

10 days.    The court finds that the ends of justice served by granting a

continuance outweigh the best interest of the public and the defendant in

a speedy trial, 18 U.S.C. ' 3161(h)(7)(B)(iv), for the reasons set forth

in the motion.

      SO ORDERED.

                                          ___________________________
                                          Joseph N. Laplante
                                          Chief Judge
Date: August 21, 2012

cc:   Jeffrey Levin, Esq.
      Debra Walsh, Esq.
      U.S. Marshal
      U.S. Probation
